      Case 1:18-cv-01980-MCW Document 11 Filed 04/24/19 Page 1 of 2



            IN THE UNITED STATES COURT OF FEDERAL CLAIMS


                                                                NO.: 1:18-CV-01980-MCW
                                                                Senior Judge Williams
WILLIAM AKINS,
GARY ROUSE, and
RYAN SABIN, Individually,
and each on behalf of a Class of all other
Persons Similarly Situated,

       Plaintiff,
vs.                                                             CLASS REPRESENTATION

THE UNITED STATES OF AMERICA,

      Defendant.
________________________________________/

        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                   OF PLAINTIFF, WILLIAM AKINS

       NOTICE IS HEREBY GIVEN by undersigned counsel for Plaintiffs that all

claims filed by Plaintiff WILLIAM AKINS, are hereby dismissed without prejudice

pursuant to Rule 1.420(a), Florida Rules of Civil Procedure. Each party will bear its own

attorney’s fees and costs. This dismissal shall not affect the claims filed by GARY

ROUSE and RYAN SABIN and those Plaintiffs intend to proceed with their claims.




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                                                    1 of 2
     Case 1:18-cv-01980-MCW Document 11 Filed 04/24/19 Page 2 of 2




                                                                Respectfully submitted,

                                                                /s/Aaron Behar, Esq.
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                                                                Counsel for Plaintiffs


                                 CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 24th day of April, 2019 we electronically filed

the foregoing with the Clerk of the Court by using the CM/ECF system which will send a

notice of electronic filing to the following:

Nathaniel B. Yale, Esq.
Trial Attorney
Commercial Litigation Branch
Civil Division
United States Department of Justice
P.O. Box 480
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                                                                /s/Aaron Behar, Esq.
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                                                    2 of 2
